Case 2:18-cv-11640-TGB-APP ECF No. 6 filed 12/07/18         PageID.17    Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

DAIMEON MOSLEY,
       Plaintiff,
                                              Case No. 2:18-cv-11640-TGB-APP
v.                                            Hon. Terrence G. Berg
BED BATH & BEYOND INC., a New                 Magistrate Judge Anthony P. Patti
York corporation,
       Defendant.
                                          /

                    RESPONSE TO ORDER TO SHOW CAUSE

      Plaintiff Daimeon Mosley, through undersigned counsel, submits the

following response to the Court’s Order to Show Cause [Dkt. 4]:

      1.     Plaintiff filed his Complaint against Defendant on May 23, 2018.

      2.     A Waiver of Service was executed on July 3, 2018, by Michael Wilck,

Senior Counsel for Defendant.

      3.     Defendant’s responsive pleading was due on August 31, 2018.

      4.     Between June 29, 2018, and December 6, 2018, Plaintiff’s counsel

and Defendant’s counsel exchanged over 30 e-mails and maintained contact

regarding Defendant’s investigation of the alleged architectural barriers at

Defendant’s stores.




                                          1
Case 2:18-cv-11640-TGB-APP ECF No. 6 filed 12/07/18           PageID.18    Page 2 of 4




        5.    Prior to the August 31, 2018, responsive pleading deadline,

Defendant’s counsel informed Plaintiff’s counsel that it was having difficulty with

its landlords gathering information needed to advance settlement discussions.

        6.    E. D. Mich. LR 41.2 allows this Court to dismiss a case if no action

has been taken for a reasonable time, unless good cause is shown.

        7.    The Sixth Circuit Court of Appeals has established the following four-

part analysis to determine whether dismissal for failure to prosecute is warranted

under Fed. R. Civ. P. 41(b), which may be applicable in this matter:

        (1) whether the party's failure is due to willfulness, bad faith, or fault; (2)
        whether the adversary was prejudiced by the dismissed party's conduct; (3)
        whether the dismissed party was warned that failure to cooperate could lead
        to dismissal; and (4) whether less drastic sanctions were imposed or
        considered before dismissal was ordered.

        Schafer v. City of Defiance Police Dep't, 529 F.3d 731, 737 (6th Cir. 2008).

        8.    Counsel for both parties determined it would be in the best interest to

continue working toward a settlement instead of engaging local counsel to respond

to Plaintiff’s Complaint.

        9.    No parties in this case are prejudiced.

        10.   A settlement in this matter was reached late in the day on December 6,

2018.




                                            2
 Case 2:18-cv-11640-TGB-APP ECF No. 6 filed 12/07/18          PageID.19     Page 3 of 4




      11.    Plaintiff believes that dismissal in this instance is not warranted due to

the settlement of the parties, and the Court can achieve its interest in efficient

management of its docket by setting a firm date for dismissal papers to be filed as

requested in the Notice of Settlement [Dkt. 5].

      WHEREFORE, Plaintiff requests that this Honorable Court order dismissal

papers in this matter to be submitted by December 21, 2018.

                                               Respectfully Submitted,

                                               BLACKMORE LAW PLC

                                               /s/ George T. Blackmore
                                               George T. Blackmore (P76942)
                                               21411 Civic Center Drive, Suite 200
                                               Southfield, MI 48076
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                                               E-mail: george@blackmorelawplc.com
                                               Counsel for Plaintiff
Dated: December 7, 2018




                                           3
Case 2:18-cv-11640-TGB-APP ECF No. 6 filed 12/07/18         PageID.20   Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that on December 7, 2018, I filed and served the foregoing on all

ECF participants via the court’s CM/ECF system and first-class mail, postage

prepaid, addressed to the following non-ECF participants:


      Michael H. Wilck
      Senior Counsel
      Bed Bath & Beyond
      650 Liberty Ave
      Union, New Jersey 07083


                                             /s/ George T. Blackmore
                                             George T. Blackmore (P76942)




                                         4
